                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
In The Matter of:                                   Chapter 7
                                                    18-53366-MBM
Richard Hinger                                      Judge McIvor

Debtor(s)
_________________________/


    ORDER GRANTING RELIEF FROM AUTOMATIC STAY & WAIVING THE
 PROVISIONS OF F.R.B.P.4001(a)(3) AS TO JPMORGAN CHASE BANK, NATIONAL
                                ASSOCIATION


       This matter having come before this Court on the Motion of JPMORGAN CHASE
BANK, NATIONAL ASSOCIATION (“Creditor”), by and through its attorneys, Schneiderman
& Sherman, P.C., for relief from the Automatic Stay; all parties to said Motion having been
served with a copy of Creditor’s Motion and proposed Order:

        IT IS HEREBY ORDERED that the Automatic Stay is terminated to allow Creditor, its
successors or assigns to foreclose on the property known as 33720 Gertrude St.,, Wayne, MI
48184, for the reasons set forth in Creditor’s Motion; that Creditor is permitted to dispose of the
property in accordance with the terms of its note and security agreement and in accordance with
federal and state law; that F.R.B.P.4001(a)(3), is waived; that this order shall be served on the
Chapter 7 Trustee and all others with an interest in the subject property. This order shall be
binding and effective despite any conversion of this bankruptcy case to a case under any other
chapter of Title 11 of the United States Bankruptcy Code.

        IT IS FURTHER ORDERED that Creditor may send to any party or parties
protected by the automatic stay any and all notices required by applicable state and/or federal
law or regulation and to take such actions with respect to the Property as are provided for under
applicable no bankruptcy law, including but not limited to, informing Debtor(s) of any loan
modification, short sale, or other loss mitigation options.
Signed on May 07, 2019




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